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                     UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF TEXAS (HOUSTON)

  UNITED STATES OF AMERICA,   .          Case No. 17-cr-00514
                              .
                 Plaintiff,   .
                              .
    vs.                       .
                              .          515 Rusk Street
  DE LEON-PEREZ, et al.,      .          Houston, TX 77002
                              .
                 Defendants. .           Monday, July 12, 2021
                              .          2:17 p.m.
  . . . . . . . . . . . . . . .


                   TRANSCRIPT OF INITIAL APPEARANCE
              BEFORE THE HONORABLE DENA HANOVICE PALERMO
                    UNITED STATES MAGISTRATE JUDGE

  APPEARANCES:

  For the Plaintiff:           Office of the US Attorney
                               By: ROBERT SEARLS JOHNSON, ESQ.
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                               Houston, TX 77002
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 1          (Proceedings commence at 2:17 p.m.)

 2                THE CLERK:    Now calling the case of United States of

 3 America v. Paulo Murta, 4:17-cr-514.

 4                MR. JOHNSON:     Judge, Robert Johnson for the United

 5 States Attorney's Office.          Also with me today are Sonali Patel

 6 and Drew Bradylyons from the US Department of Justice Fraud

 7 Section.

 8                THE COURT:    Okay.

 9                MR. SANCHEZ:     Andres Sanchez for Mr. Murta, Your

10 Honor, and standing in for Samy Khalil, who Mr. Murta has

11 retained to represent him in this case.

12                THE COURT:    Okay.    All right.    So Mr. Murta has been

13 charged in the superseding indictment.             Have you had a chance

14 to review the charges with him?

15                MR. SANCHEZ:     Your Honor, it's a 75-page indictment.

16 He's -- he knows it very well.           This is following, as far as I

17 understand it, an extradition proceeding where his counsel in

18 Portugal and Samy -- or Samy, through his counsel in Portugal,

19 have advised him of the indictment.            We haven't gone over it,

20 but he knows and understands the indictment quite well.

21                THE COURT:    Okay.    So can I get -- ask the US

22 Attorney then that I have just gotten the superseding

23 indictment just a second to please just summarize what the

24 counts are that he's charged with.

25                MR. JOHNSON:     Sure, Your Honor.      There's four counts



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 1 that he's charged with.           One is Conspiracy to Commit Money

 2 Laundering in violation of 18 U.S.C. 1956(h).              Count -- that's

 3 Count 13.       The next count is Count 14, which is conspiracy

 4 under 18 U.S.C. 371.         Specifically, it's Conspiracy to Violate

 5 the Foreign Corrupt Practices Act.            And then, he's also charged

 6 with two substantive money laundering counts.              Those are Counts

 7 18 and 19, and those are in violation of 18 U.S.C.

 8 1956(a)(2)(A).

 9                THE COURT:    Okay.    And can you tell me what the

10 penalty ranges are for each of these charges?

11                MR. JOHNSON:     Yes, Your Honor.     For Count 13, it's up

12 to 20 years imprisonment, a $500,000 fine or twice the value of

13 the property or funds involved in the transaction or twice the

14 pecuniary gain or loss, whichever is greater, three-year term

15 of supervised release, $100 special assessment.               For Count 14,

16 which is the 371 count, it's up to five years imprisonment,

17 $250,000 fine, a three-year term of supervised release, $100

18 special assessment.         And Counts 18 and 19, which are the

19 substantive money laundering counts, it's up to 20 years

20 imprisonment, $500,000 fine or twice the value of the property

21 involved in the transaction or twice pecuniary gain or loss,

22 whichever is greater, three-year term of supervised release,

23 $100 special assessment.

24                THE COURT:    And, Mr. Murta, without telling me

25 whether these charges are true, do you understand that this is




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 1 what the Government is claiming that you have done?

 2                THE DEFENDANT:     I understand.

 3                THE COURT:    Do you understand this is what you're

 4 being charged with?

 5                THE DEFENDANT:     Yes, I understand.

 6                THE COURT:    You have the right to retain silent with

 7 respect to these charges.          Anything you say can be used against

 8 you in court.        You're not on trial here today.        You have no

 9 obligation to make any statement to me or other court personnel

10 about the facts of this case.           You are never required to be a

11 witness, to testify against yourself, or to gather any other

12 witnesses or evidence.          You don't have to answer any questions

13 of law enforcement officials.           If you've already talked to

14 them, you don't have to say anything else.              If you decide to

15 talk to them in the future, you can stop at any time.

16                If you discuss the facts of this case with any person

17 who's not your attorney, that person could be forced to testify

18 against you, even if he or she doesn't want to.               Anything you

19 say to your attorney is absolutely privileged.              Your attorney

20 can never be required to disclose what you've told him or her.

21                Do you understand the right to silence as I have

22 explained it?

23                THE DEFENDANT:     (No audible response).

24                THE COURT:    You understand?

25                THE DEFENDANT:     (No audible response).




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 1                THE COURT:    Okay.    You have the right to be

 2 represented by an attorney at all stages of the proceeding, and

 3 if you cannot afford counsel, you can ask the Court to appoint

 4 counsel.       You're here with retained counsel.         If you are

 5 convicted and you cannot afford counsel for your appeal, you

 6 can ask the Court to appoint counsel.             Do you understand that?

 7                THE DEFENDANT:     (No audible response).

 8                THE COURT:    Okay.    What does the Government want to

 9 do with regard to bond?

10                MR. JOHNSON:     Your Honor, the Government seeks

11 detention based on risk of flight.

12                THE COURT:    And what does your client want to do

13 about detention?

14                MR. SANCHEZ:     Your Honor, Mr. Khalil will be out this

15 week.       We also would like to get some things together, so he's

16 asking for a date late next week if you could.

17                THE COURT:    I think the rule is up to five days.          I

18 don't know if I'm allowed to do it after that.              I've been

19 admonished I am not allowed to do it after five days, even if

20 the parties agree to it.          I don't know.     Is that your

21 understanding of the law?

22                MR. JOHNSON:     Judge, I'll check on that.       I'm not

23 actually sure.        We're certainly unopposed to having an extended

24 continuance, but I'll check and see if the Court's able to do

25 that.




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 1                MR. SANCHEZ:     I haven't necessarily researched the

 2 issue, but I've done it several times where we've put it off

 3 ten days or so.

 4                THE COURT:    I've done it a couple times, but I did

 5 recently get told that I'm not allowed to do that, and I was

 6 like, oh, but I thought if the parties agreed, I could do it,

 7 but I will go ahead and set you for -- what day were you asking

 8 for?

 9                MR. SANCHEZ:     Maybe Wednesday or Thursday.

10                THE COURT:    Okay.     Carol, that's --

11                THE CLERK:    (Indiscernible) morning.

12                THE COURT:    All right.     So set it for Thursday at

13 ten o'clock.        That'll be in front of Judge Bryan.

14                THE CLERK:    It'll be continued (indiscernible)

15 arraignment date?

16                MR. JOHNSON:     Yes.

17                THE COURT:    And do you want to do the arraignment now

18 in case you decide you want -- don't want to do a detention

19 hearing?       Let's do the -- or is he ready on the -- we don't

20 have a docket control order?           Is he prepared on the

21 arraignment?

22                MR. SANCHEZ:     We didn't discuss it, or we can discuss

23 it --

24                THE COURT:    All right, no, no.

25                MR. SANCHEZ:     I've got another case, and we could --




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 1                THE COURT:    No, that's okay.

 2                MR. SANCHEZ:     Okay.

 3                THE COURT:    We could do it for next week.        You'll

 4 have to come in then.

 5                All right.    So I looked at his bond report, doesn't

 6 look like a likely candidate for being released on bond,

 7 considering he has no ties and he had to be extradited.

 8                MR. SANCHEZ:     Your Honor, part of what Samy wants

 9 some time is to get his wife here and try to get some packets

10 together that he can present to the judge.              He's -- this is not

11 my case.       This is Samy's.     He's got his plan, so --

12                THE COURT:    Okay.    Well, I'm not going to be seeing

13 you for the detention hearing, but you know, based on my review

14 of pretrial report -- which is not complete record, I get -- I

15 understand that -- I don't see any basis.              But I'll leave that

16 to you and Mr. Khalil, and you'll see Judge Bryan next week.

17                MR. SANCHEZ:     Your Honor, there's two issues that I

18 wanted to ask the Court.          One is Mr. Murta's got a tumor inside

19 his left ear that needs to be aspirated quite often, twice a

20 month.       So he's asking if he can get some immediate medical

21 attention, have that checked out.            If it's not aspirated, it

22 could paralyze his face or even cause significantly worse

23 damage.

24                THE COURT:    Will you make sure that when he goes back

25 up to Corley that they have that looked at during -- at the




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 1 medical?

 2                THE DEPUTY:     Yes, Your Honor.

 3                THE COURT:    Thank you.

 4                And what else?

 5                MR. SANCHEZ:     And then, second, he's -- since he was

 6 brought here to the U.S. on Friday of last week, he hasn't had

 7 a chance to talk to his wife.           His wife's in Portugal.

 8                THE COURT:    I do nothing about that.          He can't make

 9 any calls from here.         He has to make the calls from Corley.          I

10 doubt they allow international phone calls.              No?

11                THE DEPUTY:     Not to my knowledge, Your Honor.

12                THE COURT:    Yeah, we didn't allow international phone

13 calls when we had it here, but we no longer provide that.                 So

14 he has to get it from Corley, whatever they'll allow him.

15                MR. SANCHEZ:     Okay.

16                THE COURT:    Maybe when Mr. Khalil is visiting with

17 him, he could bring his cell phone and he could make a call at

18 that point, but --

19                MR. SANCHEZ:     I'll see what we can -- I'll try to

20 make a -- set up a call (indiscernible).

21                THE COURT:    Okay.    Anything else?

22                MR. SANCHEZ:     That's it.

23                THE COURT:    All right.     You're excused.

24                MR. JOHNSON:     Thank you, Your Honor.

25                THE COURT:    Thank you for coming in.




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 1          (Proceedings concluded at 2:25 p.m.)

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14                           C E R T I F I C A T I O N

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16                I, Alicia Jarrett, court-approved transcriber, hereby

17 certify that the foregoing is a correct transcript from the

18 official electronic sound recording of the proceedings in the

19 above-entitled matter.

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23 ____________________________

24 ALICIA JARRETT, AAERT NO. 428               DATE: November 11, 2021

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